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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN

This Document Relates to:

Pamela Kilty v. Weyerhaeuser Company, et al.                                    CASE NO. 3:16-CV-000515
Scott Spatz v. Weyerhaeuser Company, et al.                                     CASE NO. 3:16-CV-000726



       WEYERHAEUSER COMPANY’S MOTION FOR LEAVE TO FILE REPLY
     IN SUPPORT OF ITS MOTION TO STAY PROCEEDINGS PENDING APPEAL

        Weyerhaeuser Company respectfully requests that this Court grant it leave to file the

attached Reply brief in support of its Motion to Stay Proceedings Pending Appeal. This relief is

not sought for purposes of delay but rather to provide this Court with a complete analysis of the

issues raised by Plaintiffs’ Response in Opposition to Weyerhaeuser’s Motion. In particular,

Plaintiffs make arguments based on the Seventh Circuit’s scheduling order that was issued

subsequent to Weyerhaeuser’s Motion to Stay. Additionally, Plaintiffs introduced a new issue by

asserting their claims may proceed to trial with 3M Company only.

        Accordingly, Weyerhaeuser asks this Court to grant Weyerhaeuser leave to reply and

accept the brief attached as Exhibit A as Weyerhaeuser’s Reply in Support of its Motion to Stay.1

Dated: May 14, 2018

                                                     Respectfully submitted,

                                                     By: /s/ Tanya D. Ellis
                                                     Joshua J. Metcalf (MS Bar No. 100340)
                                                     Tanya D. Ellis (MS Bar No. 101525)
                                                     Mitch McGuffey (MS Bar No. 104986)
                                                     Ruth F. Maron (MS Bar No. 104709)
                                                     T. Benton York (MS Bar No. 104445)
                                                     FORMAN WATKINS & KRUTZ LLP
                                                     210 East Capitol Street, Suite 2200
                                                     Jackson, Mississippi 39201-2375
1
 Weyerhaeuser also attaches the Seventh Circuit’s May 4, 2018 Order resetting the briefing schedule for the appeal
as Exhibit B.

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                              Counsel for Weyerhaeuser Company




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                                CERTIFICATE OF SERVICE

       I certify that on May 14, 2018, these papers were filed with the Clerk of the Court for the

United States District Court for the Western District of Wisconsin using the CM/ECF system,

which will send notification of such filing upon all parties who have appeared.

                                             /s/ Tanya D. Ellis
                                             Tanya D. Ellis




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